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      and the Classes
 12
 13                         UNITED STATES DISTRICT COURT

 14         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

 15
 16   Mariano Benitez, individually and on          Case No. 8:19-CV-00098-JLS-DFM
 17   behalf of all others similarly situated,
                                                    DECLARATION OF TAYLOR T.
 18                                                 SMITH IN SUPPORT OF JOINT
                                 Plaintiff,
                                                    STIPULATION TO EXTEND ALL
 19                                                 REMAINING DEADLINES
      v.
 20
                                                    Hon. Josephine L. Staton
 21   Powerline Funding, LLC, a New York
      Limited Liability Company,
 22                                                 Complaint filed: January 21, 2019
 23                              Defendant.
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 25
 26
 27
 28   DECL. OF TAYLOR T. SMITH ISO JOINT      -1-
      STIPULATION TO EXTEND ALL
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  1         I, Taylor T. Smith, declare as follows:
  2         1.     I am an associate attorney with the law firm Woodrow & Peluso, LLC
  3   and attorney of record for Plaintiff Mariano Benitez (“Plaintiff” or “Benitez”). I am
  4   over the age of 18 and, if necessary, can competently testify if required to do so.
  5         2.     On January 24, 2019, Plaintiff, via process server, served a copy of the
  6   Complaint and summons on Powerline, which placed the deadline for responding to
  7   the Complaint on or before February 14, 2019.
  8         3.     Following service of the complaint and summons, Neil Thakor, counsel
  9   for Powerline reached out to Plaintiff’s counsel requesting additional time to respond
 10   to Plaintiff’s Complaint. The extensions were initially requested to allow sufficient
 11   time to respond to the Complaint and to discuss the possibility of settlement.
 12   Plaintiff agreed to stipulate to both extensions, which ultimately required Powerline
 13   to respond on or before March 18, 2019. (Dkts. 13, 17.)
 14         4.     In or around early March 2019, Plaintiff’s counsel was informed that
 15   Neil Thakor no longer represented Powerline. Shortly thereafter, on March 13, 2019,
 16   Alan Ritchie filed his notice of appearance on behalf of Powerline. (Dkt. 19.)
 17         5.     To allow Mr. Ritchie adequate time to review the Complaint’s
 18   allegations, counsel for Plaintiff agreed to stipulate to a third extension of the
 19   deadline to respond until April 15, 2019 (dkt. 21), which was approved by the Court
 20   on March 15, 2019 (dkt. 22).
 21         6.     On April 9, 2019, the Parties agreed to stipulate to a fourth extension to
 22   allow for further settlement discussions. (Dkt. 26.) The Court granted the stipulation
 23   to continue the deadline to respond to the Complaint until April 29, 2019. (Dkt. 27.)
 24         7.     On April 29, 2019, Powerline filed its Motion to Dismiss for Lack of
 25   Jurisdiciton. (Dkt. 28.) Plaintiff filed his Opposition to the Motion to Dismiss on
 26   May 17, 2019. (Dkt. 30.) And Powerline filed its Reply on May 24, 2019. (Dkt. 31.)
 27         8.     On June 6, 2019, the Court issued its Order denying Defendant’s
 28   DECL. OF TAYLOR T. SMITH ISO JOINT     -2-
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  1   Motion to Dismiss. (Dkt. 33.)
  2         9.     During this time, in accordance with Fed. R. Civ. P. 26(f), the Parties
  3   met and conferred and subsequently filed their Joint Case Management Statement.
  4         10.    On June 19, 2019, the Court issued the Scheduling Order, which set the
  5   following deadlines for the case:
  6          •     Last Day to File a Motion to Add Parties and Amend Pleadings: August
  7                20, 2019;
  8          •     Fact Discovery Cut-off: February 28, 2020;
  9          •     Last Day to File Motion for Class Certification: March 13, 2020;
 10          •     Last Day to File Motions (excluding Daubert Motions and all other
 11                Motions in Limine): March 13, 2020;
 12          •     Last Day to Serve Initial Expert Reports: March 13, 2020;
 13          •     Last Day to Serve Rebuttal Expert Reports: April 10, 2020;
 14          •     Last Day to File Opposition to Motion for Class Certification: April 10,
 15                2020;
 16          •     Last Day to File Reply in Support of Motion for Class Certification:
 17                April 24, 2020;
 18          •     Last Day to Conduct Settlement Proceedings: May 1, 2020;
 19          •     Expert Discovery Cut-off: May 8, 2020;
 20          •     Last Day to File Daubert Motions: May 15, 2020;
 21          •     Last Day to File Motions in Limine (excluding Daubert motions): June
 22                5, 2020; and
 23          •     Final Pretrial Conference (10:30 a.m.): July 10, 2020.
 24   (Dkt. 37.)
 25         11.    On June 21, 2019, Plaintiff served his first set of discovery requests
 26   upon Powerline, which included interrogatories and requests for the production of
 27   documents.
 28   DECL. OF TAYLOR T. SMITH ISO JOINT    -3-
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  1          12.     In early June 2019, Alan Ritchie informed Plaintiff’s counsel that he
  2   intended to withdraw as counsel for Powerline citing professional considerations.
  3          13.     On June 21, 2019, the Parties agreed to a fifth extension of the deadline
  4   to respond to the Complaint until July 12, 2019 (dkt. 42), which was granted on June
  5   25, 2019 (dkt. 44). This extension was necessary to allow Powerline time to locate
  6   and retain new counsel.
  7          14.     At the same time, Plaintiff agreed to extend the deadline for Powerline
  8   to respond to his first set of discovery requests.
  9          15.     On July 12, 2019, Powerline filed its answer to the Complaint. (Dkt.
 10   46.)
 11          16.     In August 2019, following further discussions, Mr. Ritchie informed
 12   Plaintiff’s counsel that Powerline had not yet retained new counsel, and that he
 13   would not be able to provide substantive discovery responses. Mr. Ritchie therefore
 14   requested another extension of the deadline to respond to the discovery requests.
 15          17.     Given the impending deadline to amend pleadings and add parties (due
 16   August 20, 2019), the Parties agreed to stipulate to an extension until October 1,
 17   2019. (Dkt. 47.) This was intended to allow sufficient time for Powerline’s next
 18   counsel to respond to the discovery requests, and Plaintiff’s counsel sufficient time
 19   review the responses prior to the expiration of the deadline to amend pleadings and
 20   add parties.
 21          18.     On September 10, 2019, Powerline filed a Request for Approval of
 22   Substitution of Counsel. (Dkt. 53.)
 23          19.     On September 12, 2019, Ingrid M. Rainey filed her appearance on
 24   behalf of Powerline. (Dkt. 56.)
 25          20.     Also on September 12, 2019, Ms. Rainey reached out to Plaintiff’s
 26   counsel requesting an extension of time to respond to Plaintiff’s first set of discovery
 27   requests. Ms. Rainey has informed counsel that Powerline’s prior counsel did not
 28   DECL. OF TAYLOR T. SMITH ISO JOINT     -4-
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  1   spend any time working on the responses.
  2         21.    Plaintiff’s counsel appreciates that Ms. Rainey needs time to review the
  3   case and provide adequate discovery responses. However, Plaintiff cannot continue
  4   to grant extension after extension to his own detriment.
  5         22.    Therefore, the Parties agreed that a three-month extension of all
  6   remaining deadlines would promote the interests of justice. The extension would
  7   allow the Parties sufficient time to engage in discovery prior to the expiration of any
  8   remaining deadline. Further, the requested extension will benefit both Parties. That
  9   is, Powerline’s new counsel will have sufficient time to review the case, pleadings,
 10   and underlying facts. Further, Plaintiff will receive the benefit of substantive
 11   discovery responses following Powerline’s review of the case.
 12         23.    As such, the requested extension is supported by good cause.
 13         I declare under penalty of perjury under the laws of the United States of
 14   America that the foregoing is true and correct. Executed on October 1, 2019, in
 15   Denver, Colorado.
 16
 17                                    By:     /s/ Taylor T. Smith
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 24                                           and the Classes

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 28   DECL. OF TAYLOR T. SMITH ISO JOINT     -5-
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